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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-896V
                                      Filed: May 18, 2017
                                          Unpublished

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EFRAIM KAMARA,                         *
                                       *
                   Petitioner,         *      Joint Stipulation on Damages;
v.                                     *      Influenza (“Flu”) Vaccine; Guillain-Barré
                                       *      Syndrome (“GBS”); Special Processing
SECRETARY OF HEALTH                    *      Unit (“SPU”)
AND HUMAN SERVICES,                    *
                                       *
                   Respondent.         *
                                       *
****************************
Nancy R. Meyers, Ward Black Law, Greensboro, NC, for petitioner.
Michael P. Milmoe, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION 1

Dorsey, Chief Special Master:

       On August 19, 2015, Efraim Kamara (“petitioner”), filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq., 2 (the “Vaccine Act”). Petitioner alleges that he suffered Guillain-
Barré Syndrome (“GBS”) as a result of receiving the influenza (“flu”) vaccine on October
28, 2014. Pet. at 1; Stip., filed May 18, 2017, at ¶¶ 1, 2, 4. Petitioner further asserts
that the vaccine was administered in the United States, that he experienced the residual
effects of his injury for more than six months, and that there has been no prior award or
settlement of a civil action for damages as a result of his condition. Pet. at ¶¶ 2, 12, 14-
15; Stip. at ¶¶ 3-5. Respondent denies that the flu vaccine caused petitioner’s alleged
GBS, or any other injury, and further denies that petitioner’s current disabilities are
sequelae of a vaccine-related injury. Stip. at ¶ 6.



1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        Nevertheless, on May 18, 2017, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. The undersigned
finds the stipulation reasonable and adopts it as the decision of the Court in awarding
damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, the undersigned
awards the following compensation:

        A lump sum of $800,000.00 in the form of a check payable to petitioner,
        Efraim Kamara. Stip. at ¶ 8. This amount represents compensation for all
        damages that would be available under 42 U.S.C. § 300aa-15(a). Id.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision. 3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.

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